18-52144-rbk Doc#63 Filed 08/19/19 Entered 08/19/19 10:11:27 Main Document Pg 1 of 9
18-52144-rbk Doc#63 Filed 08/19/19 Entered 08/19/19 10:11:27 Main Document Pg 2 of 9
18-52144-rbk Doc#63 Filed 08/19/19 Entered 08/19/19 10:11:27 Main Document Pg 3 of 9
18-52144-rbk Doc#63 Filed 08/19/19 Entered 08/19/19 10:11:27 Main Document Pg 4 of 9
18-52144-rbk Doc#63 Filed 08/19/19 Entered 08/19/19 10:11:27 Main Document Pg 5 of 9
18-52144-rbk Doc#63 Filed 08/19/19 Entered 08/19/19 10:11:27 Main Document Pg 6 of 9
18-52144-rbk Doc#63 Filed 08/19/19 Entered 08/19/19 10:11:27 Main Document Pg 7 of 9
18-52144-rbk Doc#63 Filed 08/19/19 Entered 08/19/19 10:11:27 Main Document Pg 8 of 9
18-52144-rbk Doc#63 Filed 08/19/19 Entered 08/19/19 10:11:27 Main Document Pg 9 of 9
